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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

   IN RE: VALSARTAN LOSARTAN,                   MDL No. 2875
   AND IRBESARTAN PRODUCTS
   LIABILITY LITIGATION                         Honorable Renée Marie Bumb,
                                                District Judge




   This Documents Relates to All Actions


                  CERTIFICATION OF JESSICA DAVIDSON

  JESSICA DAVIDSON, ESQ., being of full age, certifies as follows:

        1.    I am a Partner at Skadden, Arps, Slate, Meagher & Flom LLP, attorneys

  for Defendant Zhejiang Huahai Pharmaceutical Co., Ltd. I make this Certification

  based on personal knowledge and in support of Defendant Zhejiang Huahai

  Pharmaceutical Co., Ltd.’s Response to Plaintiffs’ Proposed Findings of Fact in

  Accordance with Special Master Order No. 98.

        2.    Attached hereto as Exhibit 1 is a true and correct copy of the October

  21, 2022 Certification of Richard T. Bernardo (attached to October 21, 2022 Email

  from R. Bernardo to A. Slater & C. Geddis).

  Dated: May 31, 2024                  Respectfully submitted,

                                       By: /s/ Jessica Davidson
                                       SKADDEN, ARPS, SLATE, MEAGHER &
                                       FLOM LLP
                                       Jessica Davidson (NY Bar No. 6034748)
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                                   Pharmaceutical Co., Ltd.




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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 31, 2024, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which will send

  a notice of electronic filing to all CM/ECF participants in this matter.

                                               /s/ Jessica Davidson
